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                                       No. 14460C                         FILED
                                      June 13,2014
                                                                         JUN   13   2011
                        *******
    CHRISTOPHER M. BAIR,                                                 u.s"cotRTof
                                                                        pEixnAucun
                       Plaintiff,
                                                          Pro Se Plaintiff; Motion to
                                                          Dismiss; Subject            Matter
    THE ATTORNEY GENERAL,             THE                Jurisdiction
    PRESIDENT     OF THE            UNITED -
    STATES, THE HONORABLE JUDGE
    PRESIDING AT THE UNITED STATES
    COURT OF FEDERAL CLAIMS,

                      Defendants.


        Christopher M. Bair, New Philadelphia, OH, pro se.

        Ellen M. Lynch, Trial Attorney, Commercial Litigation Branch, Civil Division,
United States Department of Justice, Washington, D.C., for defendants. With her were
Robert E. Kirschman, Jr., Director, Commercial Litigation Branch, and Stuart F,
Delery, Assistant Attorney General, Civil Division, Washington, D.C.

                                        ORDER
HORN. J.

         On May 27,2014, pro se plaintiff Christopher M. Bair, who, at times, refers to
himself as "Pro epio -'Airenost,"'1 filed a number of documents, which the clerk's office
should not have accepted as a "complaint," but assigned a case number. Given that
plaintiff only submitted a random assortment of documents, which in no way resembles
a complaint, and in which he never mentions the jurisdiction of this court, the Clerk,s
office should have returned Mr. Bair's submission, together with his filing fee, instead of
opening a case file and assigning a case number.




' Plaintiffs documents are difficult to follow. Original words, capitalizations, grammar,
and spelling are quoted as they appear in the documents filed by plaintiff.
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      The documents in plaintiffs initial filing are comprised of a series of letters
addressed to Attorney General Eric Holder, The President of the United States, Barack
Obama, and to the "Honorable Judge Presiding" at the United States Court of Federal
Claims, together with assorted United States District Court forms.2 The lefters submitted
include:

     1. An April   10, 2014 letter addressed to "the Public Office of the Attorney General,
          and to the President of the United States."
     2.   An April 28,2014 lefter addressed to "the Public Office of the Attorney General."
     3.   A May 21,2014 letter addressed to "the Honorable Judge Presiding" at the
          United States Court of Federal Claims.
     4.   A second May 21 ,2014 letter addressed to "the Honorable Judge Presiding" at
          the United States Court of Federal Claims.
     5.   A May 23, 2014 letter addressed to "the Honorable Judge Presiding" at the
          United States Court of Federal Claims.
     6.   A second May 23, 2014 letter addressed to "The Honorable Judge presiding" at
          the United States Court of Federal Claims.

Plaintiff alleges that, under the leadership of President Barack Obama, the United
States government committed various acts against him and others entitling plaintiff to
$2.5 billion in damages.

'   In this court, however, the only proper defendant is the united states, which plaintiff
did not name as defendant. Rule 10(a) of the Rules of the United States Court of
Federal Claims (RCFC) (2013) states that "[t]he title of the complaint must name ail the
parties . . , with the United States designated as the party defendant." RCFC 10(a);
see also 28 u.s.c S 1491(aX1) (2012). The United States supreme court has indicated
that for suits filed in the united states court of Federal claims and its predecessors, "[i]f
the relief sought is against others than the united states the suit as to them must be
ignored as beyond the jurisdiction of the court." United States v. Shenrvood, 312 U.S.
584, 588 (1941) (citation omitted). stated differently, "the only proper defendant for any
matter before this court is the United States, not its officers, nor any other individual."
Stephenson v. United States,58 Fed. Cl. 186, 190 (2003) (emphasis in original); see
also United States v. Sherwood, 312 U.S. at S88; Brown v. United States, 1OS F.3d 621,
623 (Fed. Cir.), reh'q denied (Fed. Cir. 1997); Hoverv. United States, 113 Fed. Ct.29S,
296 (2013) ("As an initial matter, it is well settled that the United states is the onry
proper defendant in the United States Court of Federal Claims."); Warren v. United
states, 106 Fed. cl. 507, 510-1 1 (2012) ("tt is weil setfled that the United states is the
only proper defendant in the Court of Federal Claims."); Mav v. United States, g0 Fed.
Cl.442,444 ("Jurisdiction, then, is limited to suits against the United States.',), alf d,293
F. App'x 775 (Fed. Cir.), reh'q and reh'o en banc denied (Fed. Cir. 2008).
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       The court also notes that plaintiff has filed similar complaints with the United
States District Court for the Northern District of Ohio and the United States Court of
Appeals for the Sixth Circuit, all of which were dismissed either for failure to state a
claim or for failure to pay the requisite filing fee. See Bair v. Clinton et al., No. 13-3498
(6th Cir. June 21 , 2013) (dismissing the case for failure to pay the docketing fee); Bair v.
Clinton et al., No. 5:13-cv-00593-JRA (N.D. Ohio Mar.27,2013) (Dismissing the case
because "the complaint does not state any conceivable, viable cause of action against
the defendants."); Bairv. Armhurst, No. 3:12-cv-02933-JJH (N.D. Ohio Mar. 20,2013)
("Even liberally construed, the Complaint in the instant case fails to sufficiently state any
federal claims . . . ."); Bair v. Hemeloarn et al., No. 5:12-cv-02922-JRA (N.D. Ohio Feb.
7, 2013) (Holding that plaintiff's complaint "does not contain allegations which are
intelligible to this court. The complaint is therefore appropriately subject to summary
dismissal." (citation omitted)); Bair v. Parishi et al., No. 5:12-cv-02940-5L (N.D. Ohio
Dec. 5,2012) (dismissing plaintiffs complaint for failure to pay the filing fee).

        In the first letterfrom plaintiff addressed to the President, dated April 10,2014,
plaintiff requests "immediate monetary relief through settlement by Federal Law," but
does not cite to any cognizable federal statute. In the letter, plaintiff claims that
defendant "put members of my family and others in a specific Mansion in Sunnydale,
SC. Know to the Superior Justice Committee as'The Executive Manor of Infernal Hell
Hodge."' (emphasis in original). Plaintiff further claims that in "The Executive Manor'' is a
"false floor sudden trap door" that "drops its victims thirty feet down into a infected maze
of necrotic type high speed contagious disease and undead creatures including demon
dogs." As a result, plaintiff claims, "[m]y family and others like it have been rearranged,
separated, demolished, and forced into despair."

       ln the April 10, 2014 letter, plaintiff also claims that he had "been desolately
abused and forced into cardiac arrest many times by your colleges," and that he had
been the target of "hundreds devised plots of 'hire to kill' by means of reference type
literature . . . . " Plaintiff further claims that "[t]here has been many assaults and many
crimes made against me inside the banking system as well." These and other alleged
assaults, including an invasion of plaintiff's privacy, were alleged to have been
committed using "satellites with radiance type sophisticated weaponry."

      Plaintiff also alleges that President Obama had "even used my name improperly.
By referring to me, in times of dire importance by the name Chris Bliss, Chris Bliso,
Chris Bease, or Beasty." Plaintiff claims that he had "also been totally demised;
barbarously, fiendishly, and deliberately completely neglected and lied to" about "The
Executive Manor." Plaintiff further alleges in his April 10, 2014 letter that the President
and his administration had "also made crimes against me by keeping the knowledge of
these crimes a secret from the Public and 1." In his April '10, 2014 letter, plaintiff
requests the President pay him $2.5 billion "in the respect of your total involvement in
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this ominous quandary," but in a subsequent paragraph, immediately offers a settlement
of $60,000,000.00.

        Also included as part of plaintiffls initial filing is an April 28, 2014 letter plaintiff
addressed to the United States Office of the Attorney General, although plaintiff
addressed the letter "To the Public Office of the Attorney General." ln the April 28,2014
letter, plaintiff revokes "the offer of settlement" and informs the Attorney General that "l
shall continue to seek Lawful Justice for his own Presidential and criminal actions."
Plaintiff also claims the

       President's own self-involvement in the death of a child that was frozen
       solid inside the false mansion. Where in which an impostor who poses as
       my Father has froze the child with an Arcille type nitrogestic-rayl freeze
       blaster. And then the President stood idle-by when someone shattered the
       unfortunate child to pieces.

Plaintiff then calls for the President's "resignation from all duties." Plaintiff
concludes the April 28,2014 letter by invoking "my right to the Act of Dyslexia of
1984. Of that, the Opportunity Knowledge Acts: Four, Six, and Thirteen."

       Moreover, as part of plaintiff's initial filing, he submits four letters addressed to
the United States Court of Federal Claims, two dated May 21, 2014 and two dated May
23, 2014, one of which requests "your Honor give matter of this atrocity the full
brightness of your shining light." In one May 21 ,2014 letter, plaintiff claims that "[t]his
travesty has grown to an unfathomable proportion. To the extent of almost complete
annihilation of my whole blood-line." In addition to the cardiac arrests plaintiff references
in his April 10, 2014 letter to President Obama, plaintiff claims that the President "left
me barictea, barzaude, and even procuplia." Plaintiff further claims that "Barack Obama
has committed a number of brutal acts against myself and even most possibly against a
young boy . . . . " Plaintiff claims that the child's blood "was completely collected by
members of the United States Secret Service and including White House agents of the
Federal Bureau of Investigation."

       In addition, included with plaintiffs letter filings are incomplete and unsigned
"UNrrED STATES DrsrRrcr CouRT" documents with the following headings: 'SUBPOENA
TO APPEAR AND TESTIFY AT A HEARING OR TRIAL IN A CIVIL ACTION,'
"SUMMONS IN A CIVIL ACTION,' "ANTICIPATORY SEARCH AND SEIZURE
WARRANT,' and "SEARCH AND SEIZURE WARRANT ON ORAL TESTIMONY."
(emphasis and capitalization in original). Also included in plaintiff's initial filing are two
copies of a document titled: "To be added to submitted for with Claim to case," listing
items of which it appears plaintiff would like the court to take note. Some of these items
include: "Request of Federal Special Victims Legal Guarantee: Federalolice," "A
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statement to for a Requim for Personance," and "The Official terms of Derituviea."
Additionally, although plaintiff appears to have paid the court's filing fee, he submitted
an unsworn affidavit stating his "Total annual yearly income: $17,'160.000.' Plaintiff also
asserted that he owns $83,385.00 worth of various stock and property, and
"25,056,089.000" Mexican pesos worth of stock in an American-Mexican company.

        On June 9, 2014, the court received two additional letters from plaintiff. One
letter, dated June 6,2014, was addressed to the undersigned, while the other letter,
dated June 7. 2014. was addressed to the Clerk of the Court. Neither document was
signed, in violation of RCFC 11(a). Moreover, neither letter contained proof of service
on the defendants, in violation of RCFC 5.3. The letters were filed, with the court's
leave, only to complete the record. Both the letters contain many incomprehensible
words, as well as spelling and grammatical errors, including the misspelling of the Clerk
of the Court's name. Neither letter states a specific claim or provides any support for
plaintiffs previous filings. For example, in the June 6,2014 letter addressed to the
undersigned, plaintiff writes:

       These squars I choose in Ebresquose. I do in retrospect of the rilesicls
       anoutenti by the Reiso-suitor known as'Larken'. To be in as the forthwith
       typesos: (D), (G), (l), (Z) This is so to be with a Declaration ot
       Answaraklia. A rightouse and deliberate honor that is begiven to people in
       assistance to the transacclumation of adversary

ln the June 7,2014 letter addressed to the Clerk of the Court, plaintiff writes: "lt is by me
at this time that I make malstueva adovickiea to the Declaration of utrichi to that of the
third type, without mastuvince allowed. With beareance to the light of the Court's
berklintiea."

        On June 11,2014, the court received two more letters from the plaintiff, both
dated June 9,2014, and both, once again, replete with spelling and grammatical errors,
including the misspelling of the undersigned's name and the Clerk of the Court's name.
In one letter, addressed to the undersigned, plaintiff states: "l have chosen the Court of
Federal Claims in respect due to me where upon my stiroea to be in doubts of such
accordance." In the other June 9,2014 letter, this one addressed to the "Clerk of
Courts," plaintiff appears to be seeking a correction to a letter he previously submitted to
the court, asking the Clerk of the Court to amend the spelling of "umritchi" to "umritichi."
Neither letter was submitted in accordance with the Rules of the Court of Federal
Claims. These letters were also filed, with the court's leave, only to complete the record.

      When determining whether a complaint filed by a pro se plaintiff is sufficient to
invoke review by a court, pro se plaintiffs are entitled to liberal construction of their
pleadings. See Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations
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contained in a pro se complaint be held to "less stringent standards than formal
pleadings drafted by lawyers"), reh'q denied,405 U.S. 9aB (972); see also Erickson v.
Pardus,551 U.S.89,94 (2007); Huqhes v. Rowe,449 U.S.5,9-10 (1980); Estelle v.
Gamble,429 U.S. 97, 106 (1976), reh'q denied,429 U.S. 1066 (1977); Matthews v.
United States, No. 2013-5109,2014 Wt 1758664, at .1 (Fed. Cir. May 5,2014);
Diamond v. United States, 115 Fed. Cl. 516, 524 (2014). "However, "'[t]here is no duty
on the part of the trial court to create a claim which [the plaintiffl has not spelled out in
his [or her] pleading.""'Lenqen v. United States, 100 Fed. C|.317,328 (2011)
(alterations in original) (quoting Scoqin v. United States,33 Fed. C|.285,293 (1995)
(quoting Clark v. Nat'l Travelers Life lns. Co., 518 F.2d 1167, 1169 (6th Cir. 1975))); see
also Bussie v. United States, 96 Fed. Cl. 89, 94, atfd,443 F. App'x 542 (Fed. Cn.
201 1); Minehan v. United States, 75 Fed. Cl. 249, 253 (2007). "While a pro se plaintiff is
held to a less stringent standard than that of a plaintiff represented by an attorney, the
pro ge plaintiff, nevertheless, bears the burden of establishing the Court's jurisdiction by
a preponderance of the evidence." Riles v. United States, 93 Fed. Cl. 163, 165 (2010)
(citing Huqhes v. Rowe, 449 U.S. at 9 and Tavlor v. United States, 303 F.3d 1357, 1359
(Fed. Cir.) ("Plaintiff bears the burden of showing jurisdiction by a preponderance of the
evidence."), reh'q and reh'q en banc denied (Fed. Cir. 2002)); see also Harris v. United
States, 113 Fed. Cl. 290, 292 (2013) ("Although plaintiffs pleadings are held to a less
stringent standard, such leniency 'with respect to mere formalities does not relieve the
burden to meet jurisdictional requirements."' (quoting Minehan v. United States, 75 Fed.
Cl. at 253)).

        None of the documents filed by plaintiff are in the form of a proper complaint or
are even vaguely in compliance with the court's rules, and should not have been filed as
a complaint by the Clerk's Office in the first place. Nevertheless, because these filings
were accepted by the Clerk's Office as a complaint, the court addresses the allegations.
The court also recognizes that ple se plaintiffs should be afforded liberal construction of
their pleadings. See Haines v. Kerner,404 U.S. at520-21. Even given this more liberal
approach, plaintiffs letters and other submissions are totally deficient as filings in this
court. Moreover, plaintiff s filings fail to establish any cause of action in this court.

       It is well established that "'subject-matter jurisdiction, because it involves      a
court's power to hear a case, can never be forfeited or waived."' Arbauqh v. Y & H
Corp.,546 U.S.500,514 (2006) (quoting United States v. Cotton,535 U.S.625,630
(2002)). "[F]ederal courts have an independent obligation to ensure that they do not
exceed the scope of their jurisdiction, and therefore they must raise and decide
jurisdictional questions that the parties either overlook or elect not to press." Henderson
ex rel. Henderson v. Shinseki, 131 S. Ct. 1197,1202 (2011); see also Hertz Corp. v.
Friend, 559 U.S.77,94 (2010) ("Courts have an independent obligation to determine
whether subjeclmatter jurisdiction exists, even when no party challenges it." (citing
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Arbauoh v. Y & H Corp., 546 U.S. at 514)); Special Devices. Inc. v. OEA. lnc., 269 F.3d
 1340, 1342 (Fed. Cir. 2001) ('[A] court has a duty to inquire into its jurisdiction to hear
and decide a case." (citing Johannsen v. Pav Less Druq Stores N.W.. |nc.,918 F.2d
 160, 161 (Fed. Cir. 1990))); View Enq'q. Inc. v. RoboticVision Svs.. Inc., 115 F.3d 962,
963 (Fed. Cir. 1997) ("[C]ourts must always look to their jurisdiction, whether the parties
 raise the issue or not."). "The objection that a federal court lacks subject-matter
jurisdiction . . .may be raised by a party, or by a court on its own initiative, at any stage
 in the litigation, even after trial and the entry of judgment." Arbauqh v. Y & H Corp., 546
 U.S. at 506; see also Cent. Pines Land Co.. L.L.C. v. United States,697 F.3d 1360,
 1364 n.1 (Fed. Cir. 2012) ("An objection to a court's subject matter jurisdiction can be
 raised by any party or the court at any stage of litigation, including after trial and the
entry of judgment." (citing Arbauqh v. Y & H Corp., 546 U.S. at 506)); Rick's Mushroom
Serv., Inc. v. United States,521 F.3d 1338, 1346 (Fed. Cir.2008) ("[A]ny party may
challenge, or the court may raise sua sponte, subject matter jurisdiction at any time."
(citing Arbauqh v. Y & H Corp., 546 U.S. at 506; Folden v. United States, 379 F.3d
 1344, 1354 (Fed. Cir.), reh'q and reh'q en banc denied (Fed. Cir. 2004), cerl. denied,
545 U.S. 1127 QlAil: and Fanninq. Phillips & Molnar v. West, 160 F.3d 717,720 (Fed.
Cir. 1998))); Pikulin v. United States, 97 Fed. Cl.71,76, appeal dismissed, 425 F. App'x
902 (Fed. Cir.2011). In fact, "[s]ubject matter jurisdiction is an inquiry that this court
must raise sua sponfe, even where. . . neither party has raised this issue." Metabolite
 Labs., Inc. v. Lab. Corp. of Am. Holdinqs,370 F.3d 1354, 1369 (Fed. Cir.) (citing Textile
 Prods.. lnc. v. Mead Corp., 134 F.3d 1481,1485 (Fed. Cir.), reh'q denied and en banc
suqqestion declined (Fed. Cir.), cert. denied,525 U.S.826 (1998)), reh'q and reh'q en
banc denied (Fed. Cir. 2004), cert. qranted in ped sub. nom Lab. Coro. of Am. Holdinqs
v. Metabolite Labs.. |nc.,546 U.S.975 (2005), cert. dismissed as improvidentlvsranted,
548 U.S. 124 (2006).

        Pursuant to the RCFC and the Federal Rules of Civil Procedure. a olaintiff need
only state in the complaint "a short and plain statement of the grounds for the court's
jurisdiction," and "a short and plain statement of the claim showing that the pleader is
entitled to relief." RCFC 8(a)(1), (2) (2013);Fed. R. Civ. P.8(a)(1), (2) (2014);see atso
Ashcroft v. lobal, 556 U.S. 662, 677-78 (2009) (citing Bell Atl. Corp. v. Twombtv, 550
U.S. 544, 555-57, 570 (2007)). "Determination of jurisdiction starts with the complaint,
which must be well-pleaded in that it must state the necessary elements of the plaintiffs
claim, independent of any defense that may be interposed." Holley v. United States, 124
F.3d 1462, 1465 (Fed. Cir.) (citing Franchise Tax Bd. v. Constr. Laborers Vacation
Trust,463 U.S. 1 (1983)), reh'o denied (Fed. Cir. 1997); see atso Ktamath Tribe Ctaims
Comm. v. United States, 97 Fed. Cl. 203, 208 (2011); Gonzalez-McCaullev Inv. Gro..
lnc. v. United States, 93 Fed. Cl. 710, 713 (2010). "Conclusory allegations of law and
unwarranted inferences of fact do not suffice to support a claim." Bradlev v. Chiron
Coro., 136 F.3d 1317,1322 (Fed. Cir. 1998); see also McZeal v. Sprint Nextel Corp.,
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501 F.3d 1354, 1363 n.9 (Fed. Cir.2007) (Dyk, J., concurring in part, dissenting in part)
(quoting C. Wright and A. Miller, Federal Practice and Procedure S 1286 (3d ed. 2004)).
"A plaintiffs factual allegations must'raise a right to relief above the speculative level'
and cross 'the line from conceivable to plausible."' Three S Consultinq v. United States,
104 Fed. Cl. 510, 523 (2012) (quoting Bell Atl. Coro. v. Twomblv, 550 U.S. at 555), affd,
No. 2012-5104,2014WL 1394969 (Fed. Cir. Apr. 11, 2014). As stated in Ashcroft v.
lqbal, "[a] pleading that offers 'labels and conclusions' or'a formulaic recitation of the
elements of a cause of action will not do.' 550 U.S. at 555. Nor does a complaint suffice
if it tenders 'naked assertion[s]' devoid of 'further factual enhancement."' Ashcroft v.
lqbal, 556 U.S. at 678 (quoting Bell Atl. Coro. v. Twomblv, 550 U.S. at S55).

        When deciding a case based on a lack of subject matter jurisdiction or for failure
to state a claim, this court must assume that all undisputed facts alleged in the
complaint are true and must draw all reasonable inferences in the non-movant's favor.
See Erickson v. Pardus, 551 U.S. 89, 94 (2007) ("ln addition, when ruling on a
defendant's motion to dismiss, a judge must accept as true all of the factual allegations
contained in the complaint." (citing Bell Atl. corp. v. Twomblv, 550 u.s. at 55s-56 (citing
Swierkiewiczv. Sorema N. A.,534 U.S.506,508 n.1 (2002)))); Scheuerv. Rhodes,416
U.S. 232, 236 (1974) ("Moreover, it is well established that, in passing on a motion to
dismiss, whether on the ground of lack of jurisdiction over the subject matter or for
failure to state a cause of action, the allegations of the complaint should be construed
favorably to the pleader."), abroqated on other qrounds by Harlow v. Fitzqerald, 4S7
U.S. 800 (1982), recoonized by Davis v. Scherer, 468 U.S. 183, 190 (1984); United pac.
lns. Co. v. United States, 464 F.3d 1325, 1327-28 (Fed. Cir. 2006); Samish Indian
Nation v. United states,419 F.3d 1355, 1364 (Fed. cir.200s); Boise cascade corp. v.
United States, 296 F.3d 1339, 1343 (Fed. Cir.), reh'o and reh,q en banc denied (Fed.
Cir.2002), cert. denied, 538 U.S. 906 (2003).

       The Tucker Act grants jurisdiction to this court as follows:

      The United States Court of Federal Claims shall have jurisdiction to render
      judgment upon any claim against the United States founded either upon
      the Constitution, or any Act of Congress or any regulation of an executive
      department, or upon any express or implied contract with the United
      States, or for liquidated or unliquidated damages in cases not sounding in
      tort.

28 u.s.c. $ 1a91(a)(1). As interpreted by the united states supreme court, the Tucker
Act waives sovereign immunity to allow jurisdiction over claims against the United
states (1) founded on an express or implied contract with the united states, (2) seeking
a refund from a prior payment made to the government, or (3) based on federal
constitutional, statutory, or regulatory law mandating compensation by the federal
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government for damages sustained. See United States v. Navaio Nation, 556 U.S. 287,
289-90 (2009); United States v. Mitchell,463 U.S. 206,216 (1983); see also Greenlee
Cntv., Ariz. v. United States,487 F.3d 871,875 (Fed. Cir.), reh'q and reh'q en banc
denied (Fed. Cn. 2007), cert. denied, 552 U.S. 1142 (2008); Palmer v. United States,
168 F.3d 1310,1314 (Fed. Cir. 1999).

       "Not every claim invoking the Constitution, a federal statute, or a regulation is
cognizable under the Tucker Act. The claim must be one for money damages against
the United States . . . ." United States v. Mitchell, 463 U.S. at 216; see also United
States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003); Smith v. United
States,709 F.3d 1114, 1116 (Fed. Cir.), cert. denied, 134 S. Ct.259 (2013\;
RadioShack Corp. v. United States,566 F.3d 1358, 1360 (Fed. Cir.2009); Rick's
Mushroom Serv., Inc. v. United States,521 F.3d at 1343 ("[P]laintiff must. . . identifya
substantive source of law that creates the right to recovery of money damages against
the United States."). In Ontario Power Generation, Inc. v. United States, the United
States Court of Appeals for the Federal Circuit identified three types of monetary claims
for which jurisdiction is lodged in the United states court of Federal claims. The coun
wrote:

      The underlying monetary claims are of three types. First, claims
      alleging the existence of a contract between the plaintiff and the
      government fall within the Tucker Act's waiver . . . . Second, the Tucker
      Act's waiver encompasses claims where "the plaintiff has paid money over
      to the Government, directly or in effect, and seeks return of all or part of
      that sum." Eastport S.S. lCorp. v. United States, 178 Ct. Cl. S99, 605-06,1
      372 F.2d [1002,] 1007-08 (1967)l (describing ittegat exaction ctaims as
      claims "in which 'the Government has the citizen's money in its pocket"'
      (quoting Clapp v. United States,127 Ct. Cl.50S, 117 F. Supp.576,58O
      (1954)) . . . . Third, the Court of Federal Claims has jurisdiction over those
      claims where "money has not been paid but the plaintiff asserts that he is
      nevertheless entitled to a payment from the treasury." Eastport S.S., 372
      F.2d at7. Claims in this third category, where no payment has been made
      to the government, either directly or in effect, require that the "particular
      provision  of law relied upon grants the claimant, expressly or by
      implication, a right to be paid a certain sum." ld.; see also Testan [v.
      United Statesl,424 U.S. 1392,1 401-02 [1976] ("Where the United States is
      the defendant and the plaintiff is not suing for money improperly exacted
      or retained, the basis of the federal claim-whether it be the Constitution, a
      statute, or a regulation-does not create a cause of action for money
      damages unless, as the Court of Claims has stated, that basis ,in itself . . .
      can fairly be interpreted as mandating compensation by the Federal
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        Government for the damage sustained."' (quoting Eastport S.S., 372 F.2d
        at 1009)). This category is commonly referred to as claims brought under
        a "money-mandating" statute.

Ontario PowerGeneration. Inc. v. United States,369 F.3d 1298, 1301 (Fed. Cir.2004);
see also Twp. of Saddle Brook v. United States, 104 Fed. Cl. 101, 106 (2012).

        To prove that a statute or regulation is money-mandating, a plaintiff must
demonstrate that an independent source of substantive law relied upon "'can fairly be
interpreted as mandating compensation by the Federal Government."' United States v.
Navaio Nation, 556 U.S. at 290 (quoting United States v. Testan,424 U.S. at 400); see
also United States v. White Mountain Apache Tribe, 537 U.S. at 472; United States v.
Mitchell,463 U.S. at 217; Blueport Co., LLC v. United States, S33 F.3d 1374, 1393
(Fed. Cir.2008), cert. denied,555 U.S. 1153 (2009). The source of law granting
monetary relief must be distinct from the Tucker Act itself. See United States v. Navaio
Nation, 556 U.s. at 290 (The Tucker Act does not create "substantive rights; [it is simply
al jurisdictional provision[] that operatels] to waive sovereign immunity for claims
premised on other sources of law (e.9., statutes or conhacts).") "'lf the statute rs not
money-mandating, the court of Federal claims lacks jurisdiction, and the dismissal
should be for lack of subject matter jurisdiction."'Jan's Helicopter Serv.. lnc. v. Fed.
Aviation Admin.,525 F.3d 1299, 1308 (Fed. Cir.2008) (quoting Greentee Cnty., Ariz. v.
United States, 487 F.3d at 876); Fisher v. United States , 402 F .3d 1167 , 1173 (Fed. Cir.
2005) (The absence of a money-mandating source is "fatal to the court's jurisdiction
under the Tucker Act."); Peoples v. United States, 87 Fed. Cl. S53, 565-66 (2009).

         After reviewing all the disparate documents plaintiff submitted, the court cannot
determine a cogent claim in plaintiffs filings over which this court has jurisdiction.
Plaintiff does not cite to any identifiable United States statute for the $2.5 billion in
damages he seeks. Likewise, plaintiff does not allege any express or implied contract
with the united states, nor does he seek a refund from prior payment made to the
government. see united states v. Navaio Nation, 5s6 u.s. at 289-90 (holding that the
Tucker Act waives sovereign immunity to allow jurisdiction over claims against the
United states (1) founded on an express or implied contract with the United states, (2)
seeking a refund from a prior payment made to the government, or (3) based on federal
constitutional, statutory, or regulatory law mandating compensation by the federal
government for damages sustained). Although the court has reviewed the pro se
plaintiffls submission liberally, ""'[t]here is no duty on the part of the trial court to create a
claim which [the plaintifl has not spelled out in his [or her] pleading.""' Lenqen v. united
states, 100 Fed. cl. at 328 (alterations in original) (quoting scoqin v. united states, 33
Fed. Cl. at293 (quoting Clarkv. Nat'l Travelers Life Ins. Co.,S1gF.2d at 1169.



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        Furthermore, even if Mr. Bair had a fact based claim for alleged wrongdoing by a
federal official, he would be raising a tort claim, and his suit would not fall within the
jurisdiction of this court. The Tucker Act expressly excludes tort claims, including those
committed by federal officials, from the jurisdiction of the United States Court of Federal
Claims. See 28 U.S.C. S 1491(a)(1); see also Keene Corp. v. United States, 508 U.S.
200,214 (1993); Rick's Mushroom Serv.. lnc. v. United States,521 F.3d at 1343; Alves
v. United States, 133 F.3d 1454, 1459 (Fed. Cir. 1998); Brown v. United States, 105
 F.3d 621,623 (Fed. Cir.), reh'q denied (Fed. Cir. 1997); Golden Pac. Bancoro v. United
States, 15 F.3d 1066, 1070 n.8 (Fed. Cir.), reh'q denied, en banc suoqestion declined
(Fed. Cir.), cert. denied,513 U.S.961 (1994); Sellersv. United States, 110 Fed. Cl.62,
66 (2013); Kalickv. United States, 109 Fed. C|.551,558, aff'd,541 F. App'x 1000 (Fed.
Cir.2013); Hampel v. United States,97 Fed. C|.235,238, aff'd,429 F. App'x 995 (Fed.
 Cr.2011), cert. dismissed, 132 S. Ct. 1105 (2012); Woodson v. United States,89 Fed.
C|.640,650 (2009); McCullouoh v. United States,76 Fed. Cl. 1,3 (2006), appeal
dismissed,236 F. App'x615 (Fed. Cir.), reh'q denied (Fed. Cir.), cert. denied,552 U.S.
 1050 (2007); Aoee v. United States,72Fed. Cl.284,290 (2006); Zhenqxinq v. United
States, 71 Fed. Cl. 732,739, affd,204 F. App'x 885 (Fed. Cir.), reh'q denied (Fed. Cir.
2006).

                                       CONCLUSION

        Plaintiffs filings do not rise to the level of a complaint which should have been
filed in this court. In addition, none of Mr. Bair's allegations are within the jurisdiction of
this court. Plaintiffs "complaint" is DISMISSED. The Clerk of the Court shall enter
JUDGMENT consistent with this Order.


       IT IS SO ORDERED.


                                                                 MARIAN BLANK HORN
                                                                        Judge




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